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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 ADAM ROSS,
           Plaintiff,                                  CASE NO. 1:18-cv-01258-JRS-TAB
 v.

 BALL STATE UNIVERSITY,
           Defendant.


                                               ORDER

         Ball State University, by counsel, having filed its Motion for Leave to Amend Brief by

 Interlineation or, Alternatively, to file a corrected Brief, and the Court being duly advised in the

 premises, finds that said Motion should be granted.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court that

 Defendant is granted leave to amend its Memorandum Brief by interlineation by striking the following

 sentence from pp. 25-26 of its Brief in Support of Motion for Summary Judgment (Dkt. 39):

 “Although with regard to some federal statutes such as Title VII of the Civil Rights Act of 1964,

 Congress has specifically abrogated Eleventh Amendment Immunity, it has not done so with

 regard to claims brought pursuant to Title IX”.

         The sentence is ORDERED stricken from Defendant’s Memorandum Brief.

 SO ORDERED.



Date: 11/3/2019




 Service will be made electronically on all
 ECF-registered counsel of record via email
 generated by the court's ECF system.
